Case 2:10-cr-00575-JCM-VCF        Document 83     Filed 05/31/11    Page 1 of 1




                         UNITED STATES DISTRICT COURT
                              DISTRICT OF NEVADA

   UNITED STATES OF AMERICA               )
                                          )
                                          )
            Plaintiff,                    )
                                          )
   VS.                                    )             2:10-CR-0575-JCM-LRL
                                          )
   RUBEN PEREZ-CRUZ,                      )
                                          )
             Defendant,                   )
                                          )
                                          )



                                    ORDER

         This Court having ordered the jury impaneled in the above entitled action to

  be kept together during periods of deliberation, now, therefore

         IT IS HEREBY ORDERED that all meals and lodging, if required, for said jury

  and attendants shall be paid by the Clerk of Court.

                             Dated this 31 day of May, 2011.




                             JAMES C. MAHAN, U.S. DISTRICT JUDGE
